Case 2:03-cr-20395-.]DB Document 84 Filed 08/31/05 Page 1 of 2 Page|D 89

IN THE UNITED sTATEs DISTRICT CoURT F"-ED E‘)" .w_

  

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UNITED sTATEs oF AMERICA, ”-"D C>‘ .~.»i`»t:'Pt~:.fS '
Plaimiff,

v. No. 03-20395-B/v

DAVID FRANKLIN,

Defendant.

 

ORDER OF REFERENCE

 

Before the court is Defendant’s Motion Requesting New Counsel filed on August 30,
2005 .

This motion is referred to the United States Magistrate Judge for determination Any
objections to the magistrate judge’s order shall be made within ten (10) days after service of the

order, setting forth particularly those portions of the order objected to and the reasons for the

objections

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IT rs so oRDERED this 31 day of August, 2005.

 

J. DANIEL BREEN\
N rED sTATEs DISTchT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 84 in
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September 1, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

